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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 EL PUENTE, et al.,

                Plaintiffs,                          Case No.: 1:22-cv-02430-CJN

        v.

 U.S. ARMY CORPS OF ENGINEERS, et al.,
                Defendants.




                  NOTICE REGARDING FILING OF JOINT APPENDIX

       Pursuant to Local Rule 7(n), Plaintiffs El Puente, CORALations, Center for Biological

Diversity are filing simultaneously with this notice an eight volume Joint Appendix of citations.



Dated: May 5, 2023                                   Respectfully submitted,

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